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UNITED STATES DISTRICT COURT _ q ’
WESTERN DISTRICT OF TENNESSEE[ l 3 P "l la' t
Western Division

 

UNITED STATES OF AMERICA

-vs- Case No. 2:04cr20044-B

.]IMMY WILLIS HART

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
- The Federal Public Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMENT
DONE and ORDERED in 167 North Main, Memphis, this l § day of April, 2005.

v/i /\ l
‘rU M.PHAM `__"\

UNITED STATES MAGISTRATE IUDGE
Copies furnished to:

United States Attorney

United States Marshal

Pretrial Serviees Offiee

A.ssistant Federal Public Defender
lntake

JIMMY W[LLIS HART

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This notice confirms a copy of the document docketed as number 9 in
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Honorable J. Breen
US DISTRICT COURT

